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IN THE UNITED STATES DISTRICT COURT
IN AND FOR THE DISTRICT OF IDAHO

 

UNITED STATES OF AMERICA ex rel.
JULIE MADSEN, M.D., an individual,

Relator/Plaintiff

V.

ST. LUKE’S HEALTH SYSTEM, LTD., an

Idaho Corporation, ST. LUKE’S McCALL,

LTD., an Idaho Corporation, IDAHO ELKS

REHABILITATION HOSPITAL, INC., an

Idaho Corporation, WARREN GUDE, M.D.

RAYMOND OTTO, M.D., and John/Jane
Does I through X, Whose true identities are
presently unknown,

Defendants

 

 

Case No. 1:15-cv-00210-EJL

THIRD AMENDED COMPLAINT
AND DEMAND FOR JURY TRIAL

THIRD AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL -- 1

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COMES NOW Relator/Plaintiff, Julie Madsen, M.D., by and through her attorneys of
record, Rossman Law Group, P.L.L.C., and Johnson & Monteleone, L.L.P., and hereby pleads,
complains, alleges, and avers as allowed by this Court’s Ora'er (Dkt. 63). The allegations set forth
below comprise the third amendment of the original complaint, as the First Amended Complaint
and Demand for Jury Trial (Dkt. 62), filed previously in these proceedings, was erroneously
identified as the first amendment, when it was, in fact, the second amendment of the original

complaint. As her third, amended complaint, Relator/Plaintiff pleads the following:

INTRODUCTION

l. This is an action brought, in part, by Julie Madsen, M.D., Relator, to recover damages and
civil penalties on behalf of the United States of America arising from false statements, false
claims, and/or reverse false claims made, presented, or caused to be made or presented to
the United States of America and/or the state of Idaho by Defendants in violation of the
federal False Claims Act (“FCA”), 31 U.S.C. § 3729, et. seq., as amended.

2. Relator, individually and on behalf of the United States of America, seeks through this
action to recover damages and civil penalties arising from false claims and statements
involving Defendants’ false and inaccurate billings provided to and false claims for
reimbursement submitted to Medicare and Medicaid. Defendants have engaged in serious
improprieties, and significant evidence supports verifiable allegations premised on those
improprieties Defendants were obligated to disclose accurate and truthful information on
all governmental billings to and claims for reimbursement submitted to Medicare and
Medicaid and to otherwise comply with the applicable federal regulations regarding claims

for reimbursement submitted to Medicare and Medicaid.

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3. Defendants participated and conspired in the false cl aim schemes and so violated
the federal FCA, 31 U.S.C. § 3729(a)(3), by conspiring to defraud the federal
government and/or the state government by getting false or fraudulent claims
allowed or paid by Medicare, Medicaid, and/or other federal-funded and/or state-

funded healthcare programs.

 

JURISDICTION AND VENUE
4. Relator realleges the foregoing paragraphs as though set forth in haec verba.
5. This is a civil action arising under the laws of the United States to redress violations of

31 U.S.C. §§3729 and 3730. As such, this Court has jurisdiction over the subject matter
of this action pursuant to both 28 U.S.C. §1331 and 31 U.S.C. §3733, the latter of which
specifically confers jurisdiction on this Court for actions brought pursuant to the FCA.

6. This Court has personal jurisdiction over Defendants pursuant to 31 U.S.C. §3733(a), among
other legal authorities, because that section authorizes nationwide services of process, and
because Defendants have the necessary minimum contacts with the United States.
Moreover, the Defendants can be found in, reside in, and/or transacts business in the state
of Idaho.

7. Venue is proper in this District pursuant to 28 U.S.C. §1391 and 31 U.S.C. §3733(a) because
the Defendants can be found in, reside in, and/or transact business in the District of Idaho.

8. The facts and circumstances of Defendants' violations of the federal FCA have not been
publicly disclosed in a criminal, civil, or administrative hearing, nor in any
congressional, administrative, or General Accounting Office or Auditor General's report,

hearing, audit, or investigation, or in the news media.

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Relator is the original source of the information upon which this Complaint is based, as
that phrase is used in the federal FCA, and she provided disclosures of the allegations
of this Complaint to the United States prior to the filing of the instant Complaint.
Promptly following the filing of this Complaint, Relator will serve a copy of this
Complaint and an appropriate summons and written disclosure of substantially all

material evidence and information Relator possesses upon the United States Attomey for

the District of Idaho.

PARTIES
Relator realleges the foregoing paragraph as though set forth in haec verba.
Relator, Julie Madsen (hereinafter “Relator” or “Dr. Madsen”), at all times herein
mentioned was and has been, and presently is, a resident of Ada County, Idaho. Relator
brings this action for violations of the FCA on behalf of themselves and on behalf of the
United States of America pursuant to 31 U.S.C. § 3730(b)(l). Relator has personal
knowledge of Defendants’ submission of false claims to Medicare and/or Medicaid as
alleged herein.
Defendant, St. Luke’s Health System, Ltd. (hereinafter “St. Luke’s”), at all times herein
mentioned was and is an Idaho corporation authorized to conduct business within the state
of Idaho and having its principal place of business in Boise, Idaho. St. Luke’s business
address is 190 E. Bannock Street, Boise, Idaho 83712, and its registered agent for service
of process is Christine Neuhoff, 190 E. Bannock Street, Boise, Idaho 83712.
Defendant, St. Luke’s McCall, Ltd. (hereinafter “St. Luke’s McCall”), at all times herein

mentioned was and is an Idaho corporation authorized to conduct business within the state

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of Idaho and having its principal place of business in Boise, Idaho. St. Luke’s McCall’s
business address is 190 E. Bannock Street, Boise, Idaho 83712, and its registered agent
for service of process is Christine Neuhoff, 190 E. Bannock Street, Boise, Idaho 83712.

15. Defendant, Idaho Elks Rehabilitation Hospital, Inc. (hereinafter “Elks”), at all times herein
mentioned was and is an Idaho corporation authorized to conduct business within the state
of Idaho and having its principal place of business in Boise, ldaho. Elks’ business address
is 600 N. Robbins Road, Boise, Idaho 83 701, and its registered agent for service of process
is Melissa Honsinger, 600 N. Robbins Road, Boise, Idaho 83701.

16. Defendant, Warren Gude, M.D., is a physician licensed in the state of Idaho to practice
medicine and who was an employee and/or agent for the organizational Defendants
identified herein. At all times herein mentioned, Defendant Gude was, has been, and
presently is a resident of Ada County, Idaho.

17. Defendant, Rayrnond Otto, M.D., is a physician licensed in the state of Idaho to practice
medicine and Who was an employee and/or agent for the organizational Defendants
identified herein, At all times herein mentioned, Defendant Otto was, has been, and
presently is a resident of Ada County, Idaho.

18. Defendants John/Jane Does I through X, are individuals or entities, political, corporate, or
otherwise, whose true identities are unknown at the present time but who engaged in
activities and conduct set forth herein. Altematively, John/Jane Does I through X, whose
true identities are presently unknown, are individuals or entities who are now, or at material
and operative times were, the agents, employees, independent contractors, subdivisions,
franchisees, wholly-owned subsidiaries, or divisions of Defendants herein, or are/were

individuals or entities acting on behalf of, or in concert with, Defendants herein.

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FACTS COMMON TO ALL CAUSES OF ACTION
Relator realleges the foregoing paragraphs as though set forth in haec verba.
Defendants fraudulently billed and concealed information to avoid detection of fraudulent
billing submitted to Medicare and Medicaid for reimbursement As is set forth above,
Defendants are medical facilities and/or physicians who are participating providers under
the governmental Medicare and Medicaid pro grams.
In 1965, Congress enacted Title XVIII of the Social Security Act, which established
the Medicare Program to provide health insurance for the elderly and disabled. Medicare
is a health insurance program for: people age 65 or older, people under age 65 with
certain disabilities, and people of all ages with end-stage renal disease (i.e. permanent
kidney failure requiring dialysis or a kidney transplant).
For purposes of the instant action, Medicare has primarily two parts: Part A, the Basic
Plan of Hospital Insurance and Part B, which covers physicians' services and certain
other medical services not covered by Part A. Medicare Part A (Hospital Insurance)
helps cover inpatient care in hospitals, including acute care general hospitals
such as St. Luke’s, critical access hospitals, and skilled nursing facilities (not
custodial or long-term care). Medicare Part A also helps cover hospice care and some
home health care. Medicare Part B (Medical S ervices Insurance) helps cover doctors'
services and outpatient care. It also covers some other medical services that Part A
does not cover (e.g. physical and occupational therapist services, etc.). Part B also
helps pay for covered healthcare services and supplies when they are medically

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Payments to healthcare providers, including Defendants, are made from the Medicare

Program and come from a trust fund, known as the Medicare Trust Fund, which is
funded through payroll deductions taken from the members of the American work
force in addition to governmental contributions Over the last forty (40) years, the
Medicare Program has enabled the elderly and disabled to obtain necessary, medical
services from healthcare providers throughout the United States

The Medicare Program is administered through the United States Department of Health
and Human Services ("HHS") and, specifically, the Cente`rs for Medicare and
Medicaid Services ("CMS"), a sub-agency and division of HHS. Much of the
daily administration and operation of the Medicare Program is managed through private
insurers under contract with the federal govemment, specifically and particularly CMS.

Under Medicare Part A, contractors serve as "fiscal intermediaries" administering
Medicare in accordance with the rules and regulations developed by the Health
Care Financing Administration ("HCFA") now known as CMS.

Under Medicare Part B, the federal government contracts with insurance companies and
other organizations known as "carriers" to handle payments for physicians' services in
specific geographic areas These private insurance companies, or "Medicare Carriers,"
are charged with and responsible for accepting Medicare claims, determining coverage,

and making payments from the Medicare Trust Fund.

The principal function of both intermediaries and carriers is to make and audit
payments for CMS services to assure that federal funds are spent properly. To

participate in the Medicare Program, providers must assure that their services are

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provided economically and only when and to the extent they are medically necessary.
Medicare will only reimburse costs for medical services that are needed for the
prevention, diagnosis, or treatment of a specific illness or injury as categorized by

Common Procedure Terminology (“CPT”) codes and/or ICD-9 and/or ICD-10 diagnosis

codes

Medicaid was created in 1965, at the same time as Medicare, when Title XIX was
added to the Social Security Act. The Medicaid program aids the individual
states in furnishing medical assistance to eligible, needy persons, including indigent
and disabled people. Medicaid is the largest source of funding for medical and health-
related services for America's poorest people. Medicaid is a cooperative federal-state
public assistance program which is administered by the individual states Funding for
Medicaid is shared between the federal government and those state governments that

choose to participate in the pro gram.

Title XIX of the Social Security Act allows considerable flexibility within the various
states' Medicaid plans, and therefore, specific Medicaid coverage and eligibility
guidelines vary from state to state. However, in order to receive federal matching
funds, a state Medicaid program must meet certain minimum coverage and eligibility
standards and requirements A state must provide Medicaid coverage to needy
individuals and families in five broad groups: pregnant women, children and
teenagers, seniors, people with disabilities, and people who are blind. In addition, the
state Medicaid program must provide medical assistance for certain basic services,

including inpatient and outpatient hospital services

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Idaho Department of Health and Welfare (“IDHW”) administers the Idaho Medicaid
program and provides health insurance to many Idahoans. This program pays for
hospital services, doctor visits, prescriptions, nursing home care, and other healthcare

needs Idaho Medicaid is the largest social services program in state govemment.

The complexity and financial magnitude o f th e federal and state healthcare
programs, including the Medicare and Medicaid programs, create the incentive and

opportunity for pervasive fraud and abuse.

As participating providers under the federal Medicare and Medicaid programs,
Defendants had the obligation to provide true and accurate billings and claims for
reimbursement to the Centers for Medicare and Medicaid services (hereinafter “CMS”).
To the best of Relator’s knowledge and belief, the fraudulent billing practices committed
by Defendants that form the basis of this Complaint are continuing to the present day.
Relator qualifies as a relator under the FCA with her independent and original-source
knowledge of the fraudulent billings and claims for reimbursement made to the federal
govemment, specifically CMS.

Defendants St. Luke’s and Elks jointly own the Centers for Wound Healing and Hyperbaric
Medicine (hereinafter “Center” or “Wound Center”) by a joint venture partnership.
Relator was employed by Defendant St. Luke’s as a physician at the Center and also as
Medical Director of the St. Luke’s McCall Clinic (hereinafter “McCall Clinic”).

Relator first began her employment with St. Luke’s Health System, Ltd., on October 1,
2011 pursuant to a Physician Employment Agreement, which was amended on August 30,
2012 by the First Amendment to Physician Employment Agreement (collectively and

hereinafter the “Agreement”).

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Relator assumed additional responsibilities as Medical Director of the Wound Clinic at
Defendants’ McCall facility.
Based on the Agreement between Defendants and Relator, Relator’s employment
compensation included:
a. From January 19, 2012 to May 6, 2012 an hourly salary of $88.88 per
hour;
b. From May 6, 2012, to the date of her employment termination on May 1,
2014, a salary of $168,750.00 and a Bonus Distribution using a formula
provided in Exhibit A to the amended Agreement; and
c. An additional $900.00 per day and $450.00 per half-day for time spent in
clinics outside of the Wound Center.
Relator Worked at the Wound Center in a small practice group with Defendant Warren
Gude, M.D., and Defendant Ray Otto, M.D.
Defendants also provided telemedicine wound care services to remote facilities other than
McCall, including St. Luke’s Wood River facility as well as Gooding Memorial Hospital.
Telemedicine is the use of telecommunication and information technologies in order to
provide clinical healthcare at a distance lt helps eliminate distance barriers and can
improve access to medical services that would often not be consistently available in distant,
rural communities Relator became aware that Elks was not complying with the federal
Medicare telemedicine standards Specifically, Defendant Elks did not provide real-time,
interactive, audio and video telecommunications between the patients and the physicians
as required by Medicare and/or Medicaid regulations in order to submit claims for

reimbursement to governmental programs for telemedicine services On multiple

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occasions, Relator expressed her concerns relative to the improper billing of Medicare
and/or Medicaid for telemedicine services to Cyn Newsom, who was then Defendant Elks’
Executive Director. These concerns of billing fraud were raised on the following
occasions:

a.) An in-person conversation which Relator had with Defendant Gude in the week
prior to March 20, 2013;

b.) An e-mail thread between Relator and Cyn Newsom, on March 20, 2013,

c.) An e-mail Relator sent to Defendant Gude on June 16, 2013, advising that
Relator would no longer staff Defendants’ McCall facility, since they had failed for months
to provide Relator With the information she had requested on, ". . .[C]ompensation, control,
and [Medicare billing] compliance [for telemedicine services]." This e-mail was in follow-
up to a meeting the prior week in which Defendant Gude advised Relator that she needed
to continue to perform the non-compliant services and to, ". . . [N]ot worry about it," when
referencing Medicare and/or Medicaid billing improprieties
The patients being provided the non-compliant telemedicine services and care Were also
charged for these healthcare services with additional costs being passed on to their
healthcare insurers, including private payors as well as Medicaid and/or Medicare.

When Relator addressed these concerns relating to the provision of telemedicine services
with Defendants, the concerns were not addressed let alone cured, and Defendant Elks
refused to allow Relator to continue to provide telemedicine care and services to her
previously-assigned facility and reassigned that facility to Defendant Gude. Defendant
Elks additionally refused to pay Relator her wages due for providing telemedicine services

to the remote facility in McCall as well as the facilities in Hailey and Gooding.

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44. At all relevant times, Defendants knew and certainly should have known that they were
required to submit true and accurate claims for reimbursement of healthcare services and
that such reimbursement could not be obtained from governmental programs which had
failed to properly comply with the applicable Medicare and/or Medicaid billing
regulations, including, but not limited to, the regulations for billing for telemedicine
services

45. Relator also has personal and original knowledge of fraudulent billings submitted to
Medicare and/or Medicaid for reimbursement related to the provision of telemedicine
services at Defendants’ McCall Clinic and Wood River facility, and at Gooding Memorial
Hospital:

a. The requirements for the provision of telemedicine services are set forth in the CMS
regulations, and Defendants did not have the capability or the technologic
infrastructure and equipment to comply with those CMS regulations and billing
requirements Despite the inability to comply, Defendants continue to submit false
claims to governmental payors, including Medicare and/or Medicaid, for
reimbursement for telemedicine services, which billings are out of compliance and
continuing to this day;

b. Relator wrote an e-mail to Defendant Gude, dated June 16, 2013, stating that
Relator would not continue to provide telemedicine services to the McCall Clinic
until she was provided satisfactory information on compensation/reimbursement,
control, and compliance, as previously requested on multiple occasions, including

compliance with Medicare reimbursement regulations;

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c. Relator also sent e-mails to Ms. Newsom in March 2013 and May 2013 seeking to
address Relator’s concerns regarding Medicare fraud in the provision of
telemedicine services to the McCall Clinic and the submission of false claims for
reimbursement related thereto; and

d. On September 27, 2013, Relator also recorded a conversation involving herself,
Defendant Gude, and Allegra Thompson from Defendant St. Luke’s Human
Resources Department, in which Relator again stated that she has raised repeated
concerns about Medicare fraud and billing improprieties in relation to the McCall
Clinic; Defendants never addressed these repeated concerns raised by Relator.

This evidence amply demonstrates that Defendants were fully aware that the telemedicine

services program at the McCall Clinic was not in compliance with CMS regulations and

that billing Medicare and/or Medicaid for services which were not in compliance with
regulations was fraudulent and amounted to the submission of false claims for
reimbursement to Medicare and/or Medicaid.

At all times relevant to this action, it was a violation of federal and/or state laws and/or

regulations for Defendants to falsify information on claims for reimbursement to Medicare

and/or Medicaid; Defendants engaged in this specific and fraudulent activity.

The federal False Claims Act (“FCA”), 31 U.S.C. §3 729, et seq. , provides in pertinent
part: (a) any person who (1) knowingly presents, or causes to be presented, to an officer
or employee of the United States Government or a member of the Armed Forces of
the United States a false or fraudulent claim for payment or approval; (2) knowingly
makes, uses, or causes to be made or used, a false record or statement to get a false

or fraudulent claim paid or approved by the Government; o r (3) conspires to defraud

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the Government by getting a false claim allowed or paid, is liable to the United States
Government for a civil penalty of not less than $5,500.00 and not more than
$11,000.00, plus 3 times the amount of damages which the Government sustains
because of the act of that person.

For purposes of the FCA, the terms "knowing" and "knowingly" mean that a person,
with respect to inforrnation: (1) has actual knowledge of the information; (2) acts in
deliberate ignorance of the truth or falsity of the information; or (3) acts in reckless
disregard of the truth or falsity of the information; no proof of the specific intent to
defraud is required to prove a violation of the FCA. Defendants acted with this level of
scienter at all times relevant to this action.

During the United States’ investigation of this matter prior to its decision to decline
intervention, it was confirmed by personnel with the United States Department of Justice,
the Office of the Inspector General for the United States Department of Health and
Human Services, and the United States Attomey’s Office for the District of Idaho that
Defendants had actually submitted claims for reimbursement to CMS and, further, that
such claims had been paid by CMS; these federal employees confirmed these facts to
Relator and/or Relator’s counsel. U.S. attorneys and investigators specifically identified
telemedicine claims submitted to CMS by Defendants St. Luke’s, St. Luke’s McCall,
and Elks, though the appropriate audio-visual telecommunications equipment was not in
place, and, further, that Medicare made payments for the reimbursement of these false
claims to Defendants St. Luke’s, St. Luke’s McCall, and Elks for these telemedicine

services

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The undisclosed, regulatory violations (i.e. repeated failures to utilize real-time, audio-
visual telecommunications equipment for the delivery of telemedicine services) were
material to CMS’s decisions to pay these false claims; the federal regulations relative to
the provision of telemedicine services and the submission of claims to CMS for
reimbursement for such services are clearly central to the provision of this type of
medical care that CMS, in administering the Medicare and Medicaid programs, would
not likely have paid these claims had it known of these regulatory violations

Set forth in 42 C.F.R. § 410.78 are the Medicare regulations regarding telemedicine
services This regulation defines, “[I]nteractive telecommunications system,” which is
required to appropriately bill CMS for reimbursement, requires, as multimedia
communications equipment that includes, at a minimum, “...[A]udio and video
equipment permitting two-way, real-time interpretive communications between the
patient and the distant site physician or practitioner.” 42 C.F.R. § 410.78(a)(3). This
regulation further states that Medicare Part B pays for certain, described services,
“...[F]urnished by an interactive telecommunications system ....” 42 C.F.R. §
410.78(b). Thus, the regulations expressly provide that telemedicine services are eligible
for reimbursement le, when an appropriate, regulatorily-provided, interactive
telecommunications system is used.

The foregoing, alleged violations are central to the provision of telemedicine services,
and the materiality of these FCA violations are asserted with obvious materiality. In this
case, the real-time, audio-visual, interactive communication is the very essence of

telemedicine. See 42 C.F.R. § 410.78. This materiality is further demonstrated by the

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fact 42 C.F.R. § 410.78(d) expressly requires that CMS will only pay for medical care
provided by appropriate means of an interactive telecommunications system, unless it is
only for the demonstration of educational programs in Alaska and Hawaii.

Relator has and has had personal knowledge of the general cost of telemedicine services,
because: 1.) telemedicine patients would bring in their bills and show them to Relator, and
Relator saw bills for non-telemedicine patients, coupled and compared to other patients
and had the opportunity to review the bills for telemedicine patients with mild frequency,
and 2.) Relator attended meetings for the Elks Wound Care Clinic Provider Group
(physicians, mid-levels, Cyn Newsom, Jessie Hardy (Financial Operations Specialist), and
Ann Lawler, the governmental payments compliance officer), on a monthly basis during
Relator’s employment with Defendants from May 2011 until October 2014, where
Medicare and/or Medicaid billing, reimbursement, and compliance for telemedicine
services was specifically discussed.

False and fraudulent claims were submitted to Medicare, Medicaid, CMS, and/or other
governmental payors by Defendants Any claim submitted for reimbursement to CMS
and/or other governmental payors for the provision of telemedicine services was per se
false and fraudulent due to Defendants’ improper certification to CMS and/or Defendants’
failure to advise CMS and/or other governmental payors’ attention of not having the
necessary real-time, audio-visual telecommunications equipment to properly bill
governmental payors for telemedicine services

Material to the governmental payors’ decisions to reimburse Defendants was Defendants’

direct, implicit, and/or tacit certification(s) that they had the necessary audio-visual,

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telecommuinications equipment to be reimbursed for telemedicine services, which was
required by the governing, regulatory scheme

All Defendants presented these false and fraudulent claims for telemedicine services to
Medicare and/or other governmental payors, because Defendants never advised Medicare
that they did not have the necessary, audio-visual telecommunications equipment to
appropriately bill CMS and/or other governmental payors for telemedicine services

In light of the governing, federal regulations for billing CMS and/or other governmental
payors, as cited herein, Defendants, collectively, knew or should have known that the
claims being submitted for reimbursement for telemedicine services were false and
fraudulent

Defendants, collectively, knowingly failed to disclose to CMS and/or other governmental
payors that they did not own, possess, or utilize the necessary, audio-visual equipment to
properly submit claims for reimbursement for telemedicine services Such information
would be material to the various governmental agency’s/agencies’ decision(s) to pay
reimbursement to Defendants for the provision of telemedicine services

At no time, did any of the named Defendants herein possess, equip, and/or provide real-
time, interactive, audio-visual, telecommunications services between the patients and their
healthcare providers

In order to appropriately submit a claim for reimbursement for the provision of
telemedicine services, it was necessary to use a GT-modifier, which would only be used
for used for the billing of telemedicine services

Amy Calkins, a nurse with St. Luke’s McCall, advised Relator4 that patients had

complained regarding the extra fees that were charged to them in the amount of

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approximately $300.00 for receiving telemedicine services Ms. Calkins also shared with
Relator that Cyn Newsom, an employee and agent of SL, and Defendant Gude had told
MS. Calkins that she needed numerous patients for telemedicine services regardless of what
Relator’s clinical plan was for those patients and irrespective of the cost to CMS and/or
other governmental payors.

Ms. Calkins made it clear to Relator that she was uncomfortable scheduling telemedicine
patients, because the service was not adequate to meet the patients’ needs and that the
patients had complained about the significant up-charge related to the provision of
telemedicine services Ms. Calkins shared with Relator that the GT-modifier was included
on the bills for patients that were receiving telemedicine services at the medical facilities
set forth herein.

Defendants Gude and Otto would submit provider billing sheets for each telemedicine
patient to the billing department for Defendants Saint Luke’s, Saint Luke’s McCall and
Elks, and these billing sheets would necessarily represent and/or imply that the
telemedicine billing regulations and compliance requirements would be met, as set forth

herein:

a. The billing department for Defendants Saint Luke’s, Saint Luke’s McCall, and
Elks would submit the bills to CMS, as was specifically discussed in the Elks
Wound Care Clinic Provider meetings, as referenced above; and

b. Defendants Gude and Otto and Cyn Newsom, an employee and agent for
Defendant St. Luke’s, St. Luke’s McCall, and Elks,, specifically selected
Conex, which was a patient management software as the software platform to

be used for all telemedicine patients; however, Conex was a store-and-forward

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software (i.e. not interactive, not real time, no video, and only with static
photos), which clearly did not meet the CMS regulations relative to billing
Medicare and/or other governmental payors for the reimbursement for the
provision of telemedicine services Conex as the software to be used was
discussed in the Elks Wound Care Clinic monthly Provider Meetings, as
referenced above Even when Conex was fully operational, which was only
part of the time, it only sent static photographs Relator e-mailed Cyn Newsom,
an employee and agent for Defendant St. Luke’s, St. Luke’s McCall, and Elks,
in March 2014, that the use of Conex for the provision of telemedicine services
did not comply with the governing CMS regulations relative to the provision of
telemedicine services, because there was no interactive, real-time, audio-visual
feed between the physician(s) and the patient(s).

65.) There were two components for the billing of telemedicine services, and these were
the fee for professional service and the facility fee The GT-modifier used to bill for
telemedicine services would be a component of the facility fee These details were
discussed during the monthly Provider Meetings for the Elks Wound Care Clinic. The GT-
modifier was specific to billing for telemedicine services, and this was true during

Relator’s employment with Defendant Elks and St. Luke’s

66.) CMS discontinued the use of the GT-modifier for billing the reimbursement of
telemedicine services on January 1, 2018; prior to that date, the GT-modifier was used
system-wide for the appropriate billing of telemedicine services to CMS and/or

governmental payors for the reimbursement of telemedicine services

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67.) Telemedicine services were used by Defendants St. Luke’s, St. Luke’s McCall,
and Elks for the provision of wound care, critical care, neurologic, and/or other medical
services from late 2011 until October 2014, when Relator ultimately separated from her

employment with Defendants St. Luke’s and Elks

68.) Devon Johnson, then, at the relevant times herein, was an employee and agent of
Defendant St. Luke’s, St. Luke’s McCall, and Elks, suggested that Microsoft Lync be used
in lieu of Conex. However, that software had the same limitations as Conex (i.e. no real-
time, interactive audio-visual component due to only the availability of static photos). On
March 8, 2013, Mr. Johnson e-mailed Defendant Gude, Cyn Newsom, and Relator, and
suggested that no other telemedicine softwares be introduced, because Defendants,
collectively, already had two systems that provided static photos rather than interactive,

audio-visual linkage.

69.) The personnel at the Elks Wound Care Clinic were troubleshooting the problems
with Conex at the McCall, Wood River, Jerome, and Gooding facilities, and Mr. Johnson
pointed out that Microsoft Lync was being used at Defendant St. Luke’s Fruitland facility
for telemedicine services, without issue in his opinion, though it clearly did not meet the

relevant, telemedicine billing regulations from CMS and/or other governmental payors

70.) Relator was personally involved, as a practicing physician, in providing in-person,

medical services at St. Luke’s McCall during an ll-month period but was also providing

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telemedicine services remotely, while in both the Boise and Meridian facilities, during this
same period of time This ll-month period covered November 2012 through October
2013, and, during this time, Relator was the medical director for the wound care clinic at
St. Luke’s McCall. During the period of time from October 1, 2011, to May 1, 2014,
Relator and Defendants Gude and Otto were providing telemedicine services in the
McCall, Wood River, Jerome, and Gooding facilities, though the necessary,
telecommunications equipment was not being utilized by any of Defendants During both
the more narrow as well as the broader time frames, Conex was being used, which, again,
did not meet the CMS requirements to properly bill for the reimbursement of telemedicine

services at these facilities by Medicare and/or other governmental payors

71.) There were approximately 6-8 times during the time frame of approximately
March 2013 to June 2013, where Relator raised the telemedicine, non-compliance issue
with all of Defendants Relator raised these legitimate concerns regarding non-compliance
with CMS’s telemedicine billing regulations to Cyn Newsom, Defendant Gude, and
Defendant Otto, both in person and via e-mail, and each of these recipients was an agent

and/or employee of Defendants St. Luke’s, St. Luke’s McCall, and Elks.

72.) Defendants’ actions outlined herein were material violations of federal CMS
billing regulations, because they had the natural tendency to influence, or to be capable of
influencing, the payment and/or receipt of money by Defendants St. Luke’s, St. Luke’s

McCall, and Elks from CMS and/or other governmental payors

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73.) Had CMS been aware that Defendants, collectively, were failing to use the
appropriate telecommunications system for the provision of telemedicine services, then
CMS would more likely than not have denied payment/reimbursement for the telemedicine
claims submitted by Defendants for reimbursement Thus the submission of these claims

for reimbursement were false

FIRST CAUSE OF ACTION - SUBSTANTIVE VIOLATIONS OF THE FEDERAL
FALSE CLAIMS ACT (31 U.S.C. §§ 3729(3)(1) and 3729(3)(2})

74.) Relator realleges the foregoing paragraphs as though set forth in haec verba.

75.) This cause of action is for treble damages, forfeitures, and civil penalties under the federal
False Claims Act, 31 U.S.C. §§ 3729-3733, as amended, and for engaging in a conspiracy
to defraud Medicare and/or Medicaid.

76.) By virtue of the acts described with more particularity and specificity above, Defendants
made, used, and/or caused to be made or used false records and/or statements to defraud
Medicare and/or Medicaid relative to billings made to these governmental agencies for
reimbursement for healthcare services allegedly rendered.

77.) By virtue of the acts described with more particularity and specificity above, Defendants
knowingly submitted and/or caused to be submitted to officers, employees, and/or agents
of the United States, via CMS, Medicare, and/or Medicaid, false claims, false information,
and/or reverse false claims relative to the provision of telemedicine services all of which
caused damages to the United States

78.) Plaintiff, United States of America, unaware of the falsity of the claims, reverse false

claims, and/or statements made or caused to be made by Defendants and in reliance on

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79.)

80.)

81.)

82.)

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the accuracy thereof, paid Defendants for the claims for reimbursement for healthcare
services which were based on the false statements, false claims, and reverse false claims
By reason of the payment of the false and fraudulent claims for reimbursement which would
not have been paid absent the false claims and/or false statements made by Defendants,
Plaintiff, the United States of America, has suffered substantial damages
Relator/Plaintiff has been required to retain the legal services of Rossman Law Group,
P.L.L.C., and Johnson and Monteleone, L.L.P., in connection with the prosecution of this

action and therefore requests that attorney fees and costs be awarded to her.

Defendants violated the federal the FCA by submitting claims for reimbursement to
federal healthcare programs, including Medicare and/or Medicaid, knowing that they
were ineligible for the reimbursement payments for their provision of telemedicine

services

Defendants' conduct described in this complaint was knowing, as that term is used in

the FCA.

PRAYER FOR RELIEF

WHEREFORE, Relator/Plaintiff, both on her own behalf as well as on behalf of the United

States of America, Plaintiff in real interest herein other than relating to the second cause of action

for employment retaliation, prays judgment against Defendants as follows:

1. Treble damages, civil penalties, and forfeitures for substantive violations of the federal False
Claims Act, 31 U.S.C. §3729, et seq., as amended;

2. For Relator’s/Plaintiff’ s reasonable costs and attorney fees incurred herein; and

3. For such other and further relief as this Court deems just and equitable

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DATED: This day of September, 2018.

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DEMAND FOR JURY TRIAL

 

Relator/Plaintiff hereby demands a trial by jury, pursuant to F.R.C.P. 38(b), on all issues

and matters for legal relief and properly triable to a jury.
DATED: This l z day of September, 2018.
JO SON &M .TELEON ,

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